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 2                                                                     CLEAK LJ S JSTR:CT COURT
                                                                         DISTRICT OF ARIZONA
 3                                                                    BY                   DEPUTY
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 6                           IN THE UNITED STATES DISTRICT COURT 

 7                               FOR THE DISTRICT OF ARIZONA 

 8

 9   United States of America,                  ) CR-05-364-001-PHX-SRB
                                                )
10                  Plaintiff,                  )
                                                ) DETENTION ORDER
11   vs.                                        )
                                                )
12   Jose Luis Labrada-Trapero                  )

                                                )

13                  Defendant.                  )

                                                )

14
            On August 16, 2011, defendant Jose Luis Labrada-Trapero appeared before this Court
15
     on a petition for revocation of supervised release and submitted the issue to the Court. The
16
     Court considered the information provided to the Court in determining whether the defendant
17
     should be released on conditions set by the Court.
18
            The Court finds that the defendant, having previously been convicted and placed on
19
     supervised release, and having appeared before the Court in connection with a petition to revoke
20
     his supervised release, has failed to establish by clear and convincing evidence that he is not
21
     likely to flee or pose a danger to the safety ofthe community if released pursuant to Rule 46( d),
22
     and Rule 32. 1(a)(6), Federal Rules of Criminal Procedure, and 18 U.S.C. §3143.
23
             IT IS THEREFORE ORDERED that defendant be detained pending further
24
     proceedings.
25
            DATED this 16th day of August, 2011.
26
27
28                                                                   eIty
                                                                    ounty Superior Court Judge
